                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

KATIE AUSTIN,

                               Plaintiff,                                   Case No. 15-CV-1207
         v.
                                                                            MINUTE SHEET
DECO INC and
ABC INSURANCE COMPANY,

                               Defendants,




 Hon. David E. Jones, presiding.                       Deputy Clerk: Tony Byal
 Type of proceeding:            Telephonic Scheduling Conference
 Date: August 1, 2018 at 10:00 AM                      Court Reporter: Liberty
 Time Commenced: 10:01:58                              Time Concluded: 10:10:38

Appearances:           Plaintiff: Nathaniel Cade Jr
                       Defendant: Vincent James Scipior
Comments:
Plaintiff:
- Mediation is not worth the time at this point. Both parties have entirely different views of numbers. Case has
already been mediated in the past.
- Filed Motion for Reconsideration today.


Defendant expresses concern regarding Motion for Reconsideration and conducting extra discovery.


Court:
- Defendants’ written response to Motion for Reconsideration is due 08/15/2018
- Plaintiff’s reply is due 08/27/2018
- GRANTS request to reschedule trial dates and sets the following schedule:
         - Rule 26(a)(3) Submissions:01/25/2019
         - Oppositions to submissions due: 02/08/2019
         - Marked deposition transcripts: 02/11/2019
         - Final Pretrial Conference set for: 02/15/2019 at 10:00 AM
         - Three day Jury Trial set for: 02/25/2019 at 9:00 AM

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